            Case 1:21-cr-00266-TSC Document 63 Filed 11/10/22 Page 1 of 3




                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA



                                             ]
UNITED STATES OF AMERICA                     ]
                                             ]      Criminal No. 21-266 (01 and 02)
       v.                                    ]
                                             ]      Judge Chutkan
BRANDON MILLER                               ]
     AND                                     ]
STEPHANIE MILLER                             ]
                                             ]


                  DEFENDANTS’ MOTION TO CORRECT COURT DOCKETS


       Defendants Brandon Miller and Stephanie Miller, through undersigned counsel,

respectfully move this Court to order that the Court docket statement entries for the Millers

remove any reference to “violent entry” for their counts of conviction.

       In support of this motion the defendants state the following:

       1.      The Millers were charged by information with 4 criminal counts. They pled

guilty to count 4 of the information, 40 USC § 5104 ( e)(2 )(G). ECF 13, p. 3. Section 5104

(e)(2)(G), as worded, prohibits actions to: “parade, demonstrate or picket in any of the Capitol

Buildings.” 40 USC § 5104 ( e)(2 )(G). 1

               Count 4 of the information tracks the statutory language, alleging:




       1
               This count carries a maximum sentence of incarceration of 6 months.
                                              1
            Case 1:21-cr-00266-TSC Document 63 Filed 11/10/22 Page 2 of 3




                    “On or about January 6, 2021, in the District of
                    Columbia, BRANDON J. MILLER and STEPHANIE D.
                    MILLER willfully and knowingly paraded, demonstrated,
                    and picketed in any United States Capitol Building.
                    (Parading, Demonstrating, or Picketing in a Capitol
                    Building, in violation of Title 40, United Stated Code,
                    Section 51o4( e)(2 )(G)).”
                    ECF 13, p. 3, count 4.


            The plea agreements (ECF 34-1, 36-1) and the Judgment and Commitment Orders

(ECF 55, 58) also list the count of conviction as “Parading, demonstrating or picketing in a

Capitol Building.” “Violent entry” is not an element of the offense of conviction.

       2.       The Millers’ electronic docket listing for 40 USC § 5104 ( e)(2 )(G) incorrectly lists

that count (4) as “VIOLENT ENTRY AND DISORDERLY COUNDUCT ON CAPITOL GROUNDS;

Parading, Demonstrating, or Picketing in a Capitol Building” (emphasis in original). This

incorrect listing of the count as “violent entry” on the docket can have serious consequences

for the Millers. 2 Since their sentencing, the Millers’ criminal records report has listed their

conviction as “violent entry.” Exhibit A -2. (Criminal records reports by private companies

often determine criminal records by reviewing public records, such as docket entries on Pacer.)

       3.       Defendants in other cases which charge the same statutory violation may or

may not have the count listed on the docket as “violent entry.” For example, in United States

v. Dona Sue Bissey, 21-cr-165 (TSC), Ms. Bissey was also charged with, and pled guilty to, 40


       2
              While paragraph (e)(2) of 40 USC § 5104 is entitled: “Violent entry and disorderly
conduct,” the Millers did not plead guilty to a subparagraph prohibiting violence, as listed in the
statute. Subparagraph (F) prohibits “physical violence in the grounds or any of the Capitol
Buildings.” Rather, the Millers pled guilty to Subparagraph (G), which prohibits actions to
“parade, demonstrate or picket in any of the Capitol Buildings.”
                                                 2
              Case 1:21-cr-00266-TSC Document 63 Filed 11/10/22 Page 3 of 3




USC § 5104(e)(2)(G), the same statutory violation as the above-named defendants. Yet her

docket listing for that count of conviction accurately states: “FEDERAL STATUTES, OTHER;

Parading, Demonstrating, or Picketing in a Capitol Building” (emphasis in original). Defendants

with that accurate docket listing for 40 USC § 5104(e)(2)(G) would not face the unfair stigma

and possible rejection for job opportunities that the Millers face.

         4.      The government has been contacted regarding this motion, and defers to the

Court.

         WHEREFORE, the defendants request that the Court order that the words “violent

entry” be removed from docket listings for counts charging 40 USC § 4104(e )(2 )(G).

                                      Respectfully submitted,

                                           /s/
                                      Joanne D. Slaight, #332866
                                      400 7th Street, N.W., Suite 206
                                      Washington, DC 20004
                                      Phone (202) 256-8969
                                      Email: jslaight@att.net

                                      /s/ William L. Welch, III

                                      William L. Welch, III
                                      D.C. Bar No. 447886
                                      wlw@wwelchattorney.com
                                      5305 Village Center Drive, Suite 142
                                      Columbia, Maryland 21044
                                      Telephone: (410) 615-7186
                                      Facsimile: (410) 630-7760
                                      Counsel for Brandon James Miller
                                      (Appointed by this Court)




                                                 3
